UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



                                                                            ORDER
 IN RE CELSIUS NETWORK LLC




 OFFICIAL COMMITTEE OF UNSECURED
 CREDITORS,
                                Appellant,

                         -against-                                Case No. 1:23-cv-02882 (JLR)

 CELSIUS SPV INVESTORS, LP, et al.,
                                Appellees.



 IMMANUEL J. HERRMANN and DANIEL A.
 FRISHBERG,
                                Appellants,
                                                                  Case No. 1:23-cv-05570 (JLR)
                         -against-

 COMMUNITY FIRST PARTNERS, LLC and
 CELSIUS SPV INVESTORS, LP, et al.,
                                Appellees.


JENNIFER L. ROCHON, United States District Judge:
       The Court is in receipt of a joint letter from the parties filed on July 7, 2023. ECF No.

21. In light of the parties’ consent, the Court exercises its discretion to consolidate the related

bankruptcy appeals, Case No. 1:23-cv-05570 (JLR) (the “Rule 60 Appeal”) with Case No. 1:23-

cv-02882 (JLR) (the “Terms of Use Appeal”). Unless otherwise ordered by this Court, future

filings in the consolidated case shall be filed and docketed only under docket number 23-cv-

02882 (JLR).
       IT IS HEREBY ORDERED that the actions shall be referred to collectively as In re

Celsius Network, LLC, Case No. 1:23-cv-02882 (JLR). Every pleading filed in the consolidated

action under 23-cv-02882 (JLR) shall bear the following caption:

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 IN RE CELSIUS NETWORK LLC                                 Case No. 1:23-cv-02882 (JLR)




       IT IS FURTHER ORDERED that, in light of the parties’ consent, the briefing deadlines

in both the Rule 60 Appeal and the Terms of Use Appeal are held in abeyance until the

Bankruptcy Court acts on the proposed settlement. IT IS FURTHER ORDERED that the parties

shall provide a joint status update no later than either seven (7) days after the Bankruptcy Court

acts on the proposed settlement, or July 31, 2023, whichever date is earliest. That update shall

propose a briefing schedule with respect to the remaining issues on appeal.

Dated: July 10, 2023
       New York, New York

                                                          SO ORDERED.




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                                                          JENNIFER
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                                                                       L. ROCHON
                                                          United
                                                          Un
                                                          U nited States District Judge




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